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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-06-253 OWW
                                       )
10                                     )       ORDER RE PETITIONER'S LETTER
                                       )       DATED AUGUST 2, 2010
11                   Plaintiff/        )
                     Respondent,       )
12                                     )
               vs.                     )
13                                     )
                                       )
14   VIRGILIO MELGOZA, JR.,            )
                                       )
15                                     )
                     Defendant/        )
16                   Petitioner.       )
                                       )
17                                     )

18        On August 2, 2010, Petitioner Virgilio Melgoza, Jr.,

19   proceeding in pro per, sent a letter to the Court requesting

20   assistance in connection with a state hold which is preventing

21   his release from a federal prison to a half-way house for

22   completion of his federal sentence.       Petitioner asserts that the

23   hold was issued by the Kern County Superior Court, Case No.

24   DF007764A, “which I [undecipherable] your Courts [sic] used &

25   charged me with to Federal Prison.”        Petitioner pleaded guilty

26   in this Court to conspiracy to distribute and possess with intent

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1    to distribute a controlled substance and was sentenced to 60

2    months.    Petitioner is presently confined at FCI Schuykill in

3    Minersville, Pennsylvania.

4         Case No. DF007764A was filed against Petitioner in the Kern

5    County Superior Court on May 9, 2006, Petitioner having been

6    arrested on May 5, 2006.      Petitioner was charged with possession

7    of a controlled substance for sale in violation of California

8    Health and Safety Code § 11378, and two counts of failure to

9    appear on a felony charge in violation of California Penal Code §

10   1320(b).   These charges have not been resolved.1

11        If Petitioner intends to challenge the effect of the state

12   detainer/hold on the execution of his federal sentence,

13   Petitioner may file a petition for writ of habeas corpus pursuant

14   to 28 U.S.C. § 2241 in the United States District Court for the

15   district in which Petitioner is presently incarcerated, naming as

16   the respondent the warden of FCI Schuykill.         If Petitioner

17   intends to challenge his future confinement in state custody by

18   challenging the lawfulness of the state detainer, Petitioner may

19   file a petition for writ of habeas corpus pursuant to Section

20   2241 in the United States District Court for the Eastern District

21   of California, because Petitioner is deemed to be in the custody

22   of the state officials lodging the detainer.          See Graham v.

23

24        1
           The Court may take judicial notice of matters of public
     record, including duly recorded documents, and court records
25   available to the public through the PACER system via the internet.
     See Fed. R. Evid. Rule 201(b); United States v. Howard, 381 F.3d
26   873, 876, fn.1 (9th Cir. 2004).

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1    Brooks, 342 F.Supp.2d 256, 261 (D.Del.2004); Campbell v. Kelly,

2    2009 WL 260795 at *2 (M.D.Pa.2009).

3    IT IS SO ORDERED.

4    Dated:   October 12, 2010              /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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